   Case 1:04-cr-00402-TJM             Document 138           Filed 10/12/05        Page 1 of 1




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
________________________________________

UNITED STATES OF AMERICA,


-against-                                                           04-CR-402


YASSIN MUHIDDIN AREF
and MOHAMMED MOSHARREF HOSSAIN,

                                 Defendants.
_________________________________________

THOMAS J. McAVOY,
Senior United States District Judge


                                    ORDER FOR FURTHER BRIEFING

        In opposition to the Government’s Motion for a Protective Order Pursuant to CIPA § 4 and FED. R.

CRIM. P. 16(d)(1), defense counsel argues that, in light of: (1) their national security clearances, (2) the

Court’s Protective Order (and the safeguards and procedures effectuated thereby), (3) the non-disclosure

agreement that each attorney signed, and (4) the law prohibiting unauthorized disclosure of classified

information, they should be allowed to review the Government’s sealed submissions in order to formulate a

response. See Luibrand Aff., dkt. # 126; Kindlon Aff. dkt # 127. The Government is direct to file a brief

within two weeks of the date of this Order, not to exceed ten (10) pages in length, that responds to this

argument.

IT IS SO ORDERED

DATED: October 12, 2005
